

Matter of Attorneys in Violation of Judiciary Law § 468-a (St. Juste) (2023 NY Slip Op 02400)





Matter of Attorneys in Violation of Judiciary Law § 468-a (St. Juste)


2023 NY Slip Op 02400


Decided on May 4, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:May 4, 2023

PM-99-23
[*1]In the Matter of Attorneys in Violation of Judiciary Law § 468-a. Attorney Grievance Committee for the Third Judicial Department, Petitioner; Harrold St. Juste, Respondent. (Attorney Registration No. 4651402.)

Calendar Date:February 6, 2023

Before:

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.
Harrold St. Juste, Trumbull, Connecticut, respondent pro se.



Motion by respondent for an order reinstating him to the practice of law following his suspension by May 2019 order of this Court (Matter of Attorneys in Violation of Judiciary Law § 468-a, 172 AD3d 1706, 1754 [3d Dept 2019]; see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.16; Rules of App Div, 3d Dept [22 NYCRR] § 806.16). Upon reading respondent's notice of motion and affidavit with exhibits sworn to November 25, 2022 and the February 3, 2023 responsive correspondence from the Attorney Grievance Committee for the Third Judicial Department, and having determined, by clear and convincing evidence, that (1) respondent has complied with the order of suspension and the Rules of this Court, (2) respondent has the requisite character and fitness to practice law, and (3) it would be in the public interest to reinstate respondent to the practice of law (see Matter of Attorneys in Violation of Judiciary Law § 468-a [Andison], 211 AD3d 1307, 1308 [3d Dept 2022]), it is
ORDERED that respondent's motion for reinstatement is granted; and it is further
ORDERED that respondent is reinstated as an attorney and counselor-at-law, effective immediately.
Lynch, J.P., Clark, Pritzker, Reynolds Fitzgerald and McShan, JJ., concur.








